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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA



              APPLE INC.,

                         Plaintiff,

              vs.                                         No. 9:19-cv-81160-RS

              CORELLIUM, LLC,

                         Defendants.

              __________________________/




                         DEPOSITION OF SEBASTIEN MARINEAU-MES

                           CONFIDENTIAL - ATTORNEYS' EYES ONLY




                         Date:               Friday, April 3, 2020

                         Time                11:44 a.m.

                         Location:           All parties via
                                             videoconference


                         Stenographically reported by:

                                             Nina Pavone, CSR
                                             License No. CSR-7802




                                         *    *   *   *




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                                                                        Page 62
     1        BY MR. LEVINE:

     2              Q. So there's been a common theme about giving

     3        the -- giving the security exploits back to the

     4        vendor, the company, and so far, the depositions have

     5        all seemed to go right to that point very quickly.

     6                 So are there any ways that there could be

     7        good faith security research where the return of the

     8        exploit directly to the company does not occur?

     9              A. It is hard for -- it is hard for me to

    10        imagine because, ultimately, when exploits are found

    11        by one researcher they are there for others to find,

    12        including bad actors and for others to exploit.          And

    13        so if the goal is ultimately to protect our users,

    14        which is certainly my goal, you want those exploits

    15        to be provided back to the company so that they can

    16        be fixed.

    17              Q. What if those exploits were provided to an

    18        entity like the U.S. government to use for national

    19        security?

    20              A. Again, my position would be that ultimately

    21        we would want those exploits to be sent back to the

    22        company who can fix them.

    23              Q. What if the exploits were provided to

    24        government in connection with national security to do

    25        something like prevent a terrorist attack or foil a


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                                                                        Page 63
     1        terrorist plan?     Wouldn't that be putting users

     2        first?

     3              A. The -- again, I think the balance here is

     4        that, ultimately, those exploits are available to

     5        other bad actors and other governments.             So

     6        ultimately, I think they have to be sent back to the

     7        vendor, whoever the vendor is, for the vendor to

     8        patch.

     9              Q. Okay.   So if using and exploiting a security

    10        bug would actually stop a terrorist attack, but

    11        patching it might continue to protect the security of

    12        that particular terrorist cell, you would still be in

    13        favor of patching that so that the terrorist cell was

    14        protected?

    15                 MS. BINA:    Objection.     Improper hypothetical.

    16        Argumentative.     Calls for expert testimony.

    17        BY MR. LEVINE:

    18              Q. You can answer.

    19              A. This is a judgment call that government

    20        entities have to make.      This is really their

    21        prerogative.

    22                 I think that -- I've been clear, I think,

    23        that ultimately, those exploits should be sent back

    24        to the vendor to protect other users and those users

    25        because we don't know, for example, what other


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                   I, NINA PAVONE, a Certified Shorthand

       Reporter, hereby certify that the witness in the

       foregoing deposition was by me duly sworn to tell the

       truth, the whole truth, and nothing but the truth in

       the within-entitled cause;

                   That said deposition was taken down in

       shorthand by me, a disinterested person, at the time

       and place therein stated, and was hereafter

       transcribed, by computer, into typewriting, under my

       direction and supervision;

                   That before completion of the deposition

       review of the transcript ( x) was requested ( ) was

       not requested.       If requested, any changes made by the

       deponent (and provided to the reporter) are appended

       hereto.

                   I further certify that I am not of counsel,

       nor attorney for any of the parties in the foregoing

       deposition and caption named, nor in any way

       interested in the outcome of the cause named in said

       caption, and that I am not related to any of the

       parties hereto.



       DATE:    April 10, 2020

                                      __________________________

                                      NINA PAVONE, CSR #7802
